     Case 3:19-cv-02450-W-KSC Document 24 Filed 12/01/20 PageID.177 Page 1 of 3



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     as “Deputy Martinez”)
 7
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13
14   Attorney for Plaintiffs; Arlet Cruz, daughter of the decedent
     and Asuncion Gomez -Decedent’s mother; individually
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16
17                      IN THE UNITED STATES DISTRICT COURT
18                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
19
20   Arlet Cruz (Daughter of the Decedent)        )    No. 19-cv-2450-W-KSC
     individually and as successor in interest, & )
21   ASUNCION GOMEZ an individual (mother         )    JOINT MOTION FOR DISMISSAL OF
     of the decedent) individually,               )    ENTIRE ACTION WITH PREJUDICE
22                                                )    PURSUANT TO FED. R. CIV. P.
                                       Plaintiffs,)
23                                                )    41(a)(1)(A)(ii)
                     v.                           )
24                                                )
     COUNTY OF SAN DIEGO; Deputy                  )
25   Martinez an individual; and DOES 1 – 50      )
     Inclusive,                                   )
26                                                )
                                     Defendants.)
27
28   ///


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     Case 3:19-cv-02450-W-KSC Document 24 Filed 12/01/20 PageID.178 Page 2 of 3



 1         Plaintiffs Arlet Cruz, individually and as successor in interest to Manuel Cruz, and
 2   Asuncion Gomez, by and through their counsel of record, and Defendants Matthew
 3   Martinez and County of San Diego, by and through their counsel of record, having
 4   reached a settlement in this matter, jointly move the Court for an order dismissing the
 5   entire case with prejudice, with each party to bear their own fees and costs.
 6                                          Respectfully submitted,
 7   DATED: December 1, 2020                THOMAS E. MONTGOMERY, County Counsel
 8                                          By: s/FERNANDO KISH, Senior Deputy
                                            Attorneys for Defendants County of San Diego
 9                                          and Matthew Martinez
                                            E-mail: fernando.kish@sdcounty.ca.gov
10
11   DATED: December 1, 2020                LAW OFFICE OF JESUS EDUARDO ARIAS
12
                                            s/ Jesus Eduardo Arias, Esq.
13                                          Attorney for Plaintiffs
                                            E-mail: jearias@jesuseduardoarias.com
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 1                               SIGNATURE CERTIFICATION
 2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
 3   and Procedures Manual of the United States District Court for the Southern District of
 4   California, I certify that the contents of this document are acceptable to counsel for all
 5   parties, and that I have obtained authorization for all of the foregoing signatories to affix
 6   their electronic signature to this document.
 7                                           Respectfully submitted,
 8   DATED: December 1, 2020                 THOMAS E. MONTGOMERY, County Counsel
 9                                           By: s/FERNANDO KISH, Senior Deputy
                                             Attorneys for Defendants County of San Diego
10                                           and Matthew Martinez
                                             E-mail: fernando.kish@sdcounty.ca.gov
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